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      IT IS ORDERED as set forth below:



      Date: March 30, 2021
                                                             _________________________________

                                                                      Jeffery W. Cavender
                                                                 U.S. Bankruptcy Court Judge

    ________________________________________________________________




                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

  IN RE:                                            ) CHAPTER 13
                                                    )
  DENISE LAWSON SERKEDAKIS                          ) CASE NO.: 20-67575-JWC
  WILLIAM CONSTANTINE                               )
  SERKEDAKIS ,                                      )
                                                    )
           Debtors.                                 )

ORDER APPROVING EMPLOYMENT OF SPECIAL COUNSEL AND MODIFICATION OF
                           THE PLAN

       On March 17, 2021, Debtors filed an application to employ (Doc. No. 38) the Law Office of

Christopher L. Denison (“Special Counsel”) to represent them in a claim against West Coast Servicing,

LLC (the “Matter”). No notice or hearing on the Application is necessary. Based upon Special

Counsel’s affidavit, it appears that Special Counsel is an attorney with expertise in the matter in which

he is specially engaged and that this case justifies employment of professionals for the purpose
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specified. Subject to written objection filed by the United States Trustee, the Chapter 13 Trustee, or

any other party in interest in this case within twenty-one (21) days from the date of entry of this Order,

it is hereby ORDERED as follows:

   1. Pursuant to 11 U.S.C. Section 327(e) and Fed. R. Bank. P. 2014, the employment of Special

       Counsel to represent Debtors and the Chapter 13 estate with respect to the aforementioned

       matter is hereby approved;

   2. The Matter constitutes property of the estate pursuant to 11 U.S.C. Section 1306;

   3. The Chapter 13 plan is hereby modified pursuant to 11 U.S.C. Section 1329 so that any

       monetary settlement, judgment, or other resolution shall be paid into the Debtors’ Chapter 13

       plan, unless further Order of this Court;

   4. Any compromise, settlement, or other final resolution in regards to the Matter is subject to

       approval of this Court after notice to all interested parties including the Chapter 13 Trustee,

       with an opportunity to be heard with regard thereto. Neither Debtors, Debtors’ counsel, nor

       Special Counsel is authorized to settle, compromise, or release any claims without approval of

       this Court. Fed. R. Bank. P. 9019(a);

   5. If the matter is not resolved prior to completion of all regular payments due under the plan or if

       there is not further Order of this Court, the Trustee may delay filing the Trustee’s Notice of

       Plan Completion until this matter is resolved or the funds are paid into the case;

   6. No compensation shall be awarded or paid to Special Counsel until the Court has allowed such

       compensation in accordance with 11 U.S.C. Sections 330 and 331, and Fed. R. Bankr. P 2016,

       after notice and hearing on all interested parties including the Chapter 13 Trustee; and

   7. Any objection to this Order shall be served on the Debtors, Special Counsel, Counsel for the

       Debtors, the Chapter 13 Trustee, and the United States Trustee.

       The Clerk of the Court is directed to serve this Order on the Chapter 13 Trustee, the United
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States Trustee, the Debtors, Special Counsel, and counsel for the Debtors.

                                      [END OF DOCUMENT]


PRESENTED BY:

       /s/
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NO OPPOSITION BY:

/s/ (with express permission)
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